          Case 3:22-cv-00510-HTW-LGI                         Document 16-2             Filed 11/28/22            Page 1 of 1



                           0cBAN,$PRDl'&aPoi.:.1:CBDa..&HTa,aw-r
                                          3810 Bienville Blvd
                                   0cean ·Springs,
                                          .        Mississippi .39564
                                                                  .




       April 6, 2022


       To Whom it May Concern:

       The City of Ocean Springs has partnered with CourtStatus.com to address the issue of vehicles being driven without
       insurance. In the State of Mississippi, the vehicle owner is responsible for maintaining auto insurance on any vehicle
       driven (or allowed to be driven) on a public roadway.

   We previously issued and mailed a Uniform Traffic Ticket to you for the misdemeanor offense of driving without vehicle
  insurance based on the foJlowing: the vehicle is registered in your name; one of our·ALPR cameras d�umented this ve-
�iffiiven on l pubuc foadWlylifvceafi Sptmg's; ffle Mississ1pp1·vdiide Insura.nee:Olftabale ffl.oW�c1"',..e-•              2 a-xr,.. -

' as uninsured on the date it was being driven; and one of our police officers verified this information. Because you have
  not responded to the citation, I am sending this letter and a copy of this citation to serve as a final notice.

     ' As noted on the Ticket, you have three options to respond and address this citation:·

         l,2 Contact the Help Desk at 601-790-7005 prior to the date listed on the enclosed Ticket if you have proof of
         •
             insurance for the date of the citation:
                    a.             h
                         If your veicle  was insured in the State of Mississippi on the date of the citation, please contact the
                         Help Desk to provide proof of coverage, and they will update the record and dear the citation. NOTE:
                         If your vehicle is registered in Mississippi; but your insurance lists your residence in another state,
                         then that is considered uninsured in Mississippi. Your vehicle must be insured for the address that you
                         have the vehicle registered
                    b.   If you are serving in the U.S. military and have out-of-state insurance coverage on the cited vehicle,
                         please contact the Help Desk. They will update the record arid clear the citation.

         2.                               e online diversion pro�: take a short course on a smart phone or computer, pay the
                                            .d agree not to re-offend. Oc;ean Springs Municipal Court fine and fees for this offense
                  total $510.00 or          iversion is being offered as a lower cost option that allows you to avoid license suspen­
                  sion, court, and othei·penalties. You can choose the diversion option by going online to www.CourtStatus.com
              ;;:-or�bys,Jlhi""(Uie ft          at 1-790-7005t                                                              �- ------ 11

         3. Reject the diver:             n and appear in court. The assigned ,court date, time, and location are listed on the
            enclosed-Ticket.

       Our objective is for vehicle owners to meet their legal responsibility to insure their driven vehicles. This letter is our
      final notice .that you must take action to address the enclosed ticket.

      Respectfully,




     Ghief Mark Dunston
     Ocean Springs Police Department


                                         P.o.,eox,1800                   www.oceanspnngs-ms.gov
                         Ocean Springs, MS 39566,,;1800




                                                                Exhibit 2
